 Case 3:18-cv-00983-L-KSC Document 1 Filed 05/17/18 PageID.1 Page 1 of 17



 1   GEOFFREY C. CHACKEL, ESQ. (Bar No. 207085)
     geoff@chackellaw.com
 2   CHACKEL LAW, PC
     4275 Executive Square, Suite 200
 3   La Jolla, CA 92037
     TEL: 619.567.2454
 4   FAX: 619.452.1212
     Attorney for Plaintiff TAMMY L. OLUVIC
 5

 6

 7

 8                            UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
10

11   TAMMY L. OLUVIC, an individual,       CASE NO. '18CV0983 L       KSC
12                     Plaintiff,          COMPLAINT FOR:

13         v.                              1. UNLAWFUL CONSTRUCTIVE
                                           TERMINATION [42 U.S.C. § 2000e-2(a)(1)];
14   AZUSA PACIFIC UNIVERSITY, a
     California Corporation,               2. SEXUAL HARASSMENT [42 U.S.C. §
15                                         2000e-2(a)(1)];

16                                         3. UNLAWFUL SEX DISCRIMINATION
                       Defendant           [42 U.S.C. § 2000e-2(a)(1)];
17
                                           4. RETALIATION [42 U.S.C. § 2000e-3(a)];
18
                                           5. RETALIATION [Cal. Labor Code
19                                         §1102.5];
20                                         6. WRONGFUL CONSTRUCTIVE
21                                         TERMINATION IN VIOLATION OF
                                           PUBLIC POLICY
22

23                                         [JURY TRIAL DEMANDED]

24

25

26

27

28


                                       COMPLAINT
 Case 3:18-cv-00983-L-KSC Document 1 Filed 05/17/18 PageID.2 Page 2 of 17



 1          Plaintiff TAMMY OLUVIC brings this Complaint against the above-named Defendant,

 2   and in support thereof alleges the following:

 3          1.        Plaintiff TAMMY OLUVIC (“Plaintiff” or “Ms. Oluvic”) is and at all relevant

 4   times alleged herein was a female citizen of the United States of America, a resident of San Diego

 5   County, California and an employee of Defendant AZUSA PACIFIC UNIVERSITY within the

 6   meaning of 42 U.S.C. §§2000e-(f).

 7          2.        Defendant AZUSA PACIFIC UNIVERSITY (“Azusa” or “Defendant”) is and at

 8   all times alleged herein was a California Corporation with its principal place of business in the

 9   State of California and which conducted business throughout the State of California, including the

10   Southern District of California and San Diego County. At all relevant times, Azusa has

11   continuously employed at least fifteen (15) employees and has been an employer engaged in an

12   industry affecting commerce within the meaning of 42 U.S.C. §§2000e-(b), (g), and (h).

13                                      VENUE AND JURISDICTION

14          3.        Jurisdiction of this Court is invoked pursuant to Article III, § 2 of the United States

15   Constitution, pursuant to 28 U.S.C. § 1331 and pursuant to 42 U.S.C. § 2000e-5(f).

16          4.        This Court has supplemental jurisdiction over Plaintiff’s state law claims under 28

17   U.S.C. § 1367.

18          5.        The employment practices alleged to be unlawful were committed within the

19   jurisdiction of the United States District Court for the Southern District of California as Plaintiff’s
20   injuries were incurred within this jurisdiction, Plaintiff performed employment services within

21   this jurisdiction, and the actions giving rise to Plaintiff’s Complaint substantially arose within this

22   jurisdiction. Therefore, in accordance with 28 U.S.C. § 1391 and 42 U.S.C. § 2000(e)-5(f), venue

23   is appropriate in this Court.

24                                       FACTUAL ALLEGATIONS

25          6.        Plaintiff is a female and commenced employment with Azusa on or about October

26   5, 2009 as a Risk Coordinator within Azusa’s Office of Human Resources. Plaintiff commenced

27   employment based upon an hourly wage and was classified as a non-exempt employee. Plaintiff

28   dutifully performed her job duties and responsibilities in this role during the course of her
                                                         1
                                                   COMPLAINT
Case 3:18-cv-00983-L-KSC Document 1 Filed 05/17/18 PageID.3 Page 3 of 17



 1   employment with Azusa and received positive job reviews.

 2          7.      In November 2010, Plaintiff applied for the position of Director of Military

 3   Recruitment and Enrollment at Azusa. As part of the application process, Plaintiff submitted

 4   several letters of recommendation, completed a formal application and understood her prior

 5   performance at Azusa would be evaluated as part of the application process.

 6          8.      On or about February 4, 2011, Plaintiff was promoted to the position of Director of

 7   Military Recruitment and Enrollment at Azusa (the “Director”). This was a significant promotion

 8   for Plaintiff both in terms of pay, title and responsibility as she was now designated a full-time

 9   exempt employee paid through a monthly salary.

10          9.      Plaintiff’s job duties as the Director required her to focus on establishing new

11   markets within the military for the educational programs offered through the Azusa Pacific

12   regional centers and all applicable school programs. As the Director, she was the Azusa

13   representative responsible for leading and directing military recruitment efforts at the university

14   and managing her department’s budget and employees / volunteers. At no time did Plaintiff

15   perform ministerial services, have any theological training, or otherwise supervise, oversee or

16   support any religious ceremony or teaching at Azusa Pacific. Plaintiff dutifully performed her job
17   duties and responsibilities in this role during the course of her employment with Azusa and
18   received positive job reviews.
19          10.     On or about July 1, 2014, Plaintiff received a raise to her monthly compensation as
20   recognition for her valuable contributions to Azusa.
21          11.     On or about July 1, 2015, Plaintiff entered a Telecommuting Agreement with
22   Azusa that allowed her to perform all of her job duties from home, which was located in San

23   Diego County, California, and allowed her to avoid the long commute to work on campus. As

24   part of this agreement, Azusa again gave Plaintiff a raise.

25          12.     During the course of her work as the Director of Military Recruitment and

26   Enrollment, she reported directly to the Executive Director of Office of Military Veterans

27   Services at Azusa (the “Executive Director”). The Executive Director was an authorized

28   employee of Defendant and the direct supervisor of Plaintiff with immediate authority over
                                                2
                                                 COMPLAINT
Case 3:18-cv-00983-L-KSC Document 1 Filed 05/17/18 PageID.4 Page 4 of 17



 1   Plaintiff able to undertake or recommend tangible employment decisions affecting Plaintiff and

 2   able to direct Plaintiff’s daily work activities.

 3           13.     Sometime in early 2016, Azusa advised Plaintiff it was interviewing Mr. Everette

 4   Brooks, an African-American male, for the position of Executive Director. As a result, Plaintiff

 5   travelled to the Azusa campus to meet Mr. Brooks for his final interview, during which Mr.

 6   Brooks boldly commented to Plaintiff that he had seen a lot of “beautiful women” on campus and

 7   had even seen a “hot Asian woman” but “didn’t want to get caught looking.” Plaintiff

 8   communicated these comments to Azusa but they were ignored.

 9           14.     Thereafter, Azusa hired Mr. Brooks as its new Executive Director, which meant

10   Ms. Oluvic was under his direct supervision.

11           15.     Shortly after being hired, Mr. Brooks continued making highly inappropriate and

12   sexist comments about women directly to Ms. Oluvic, including that he saw a lot of “beautiful

13   women” on campus and, again, had seen a “hot Asian woman,” this time making a grunting

14   sound after this comment.

15           16.     On or about June 21, 2016, Ms. Oluvic and Mr. Brooks attended a meeting at the

16   San Diego Regional Center wherein Mr. Brooks became very upset with Ms. Oluvic for unknown
17   reasons and began yelling at her when she handed him a portable table to put into his vehicle for
18   the event. Specifically, Mr. Brooks yelled at her that he is “not a fucking grunt” and should not
19   have to put the table into his BMW as this was Ms. Oluvic’s job. In addition, Mr. Brooks yelled
20   at Ms. Oluvic that it was unfair he didn’t have an assistant, and that Military & Veterans
21   Department was a joke. Mr. Brooks continued berating Plaintiff for reasons wholly unrelated to
22   her performance or conduct and continued as they rode in an elevator together—causing Ms.

23   Oluvic to begin crying and ask that Mr. Brooks please step away from her as she exited the

24   elevator. Mr. Brooks yelled so loud at her that others in a different room could hear him in the

25   elevator. Mr. Brooks refused to leave Ms. Oluvic alone or otherwise stop his abusive behavior.

26           17.     During a subsequent meeting that afternoon attended by Mr. Brooks and several

27   subordinate female employees, they were discussing several topics about the department

28   including content for the ongoing newsletter distributed within Azusa, when Mr. Brooks
                                                 3
                                                   COMPLAINT
Case 3:18-cv-00983-L-KSC Document 1 Filed 05/17/18 PageID.5 Page 5 of 17



 1   dismissed one female’s suggestions and said she should include her “favorite baking recipe” in

 2   the newsletter rather than the serious content she was proposing.

 3          18.     A few days later, Mr. Brooks texted Ms. Oluvic whether she had reported his

 4   conduct to anyone at Azusa, sending the message she would be retaliated against if she did so.

 5          19.     Thereafter, Ms. Oluvic was subjected to an extensive and protracted pattern of

 6   harassment, abuse and intimidation by Mr. Brooks that ultimately led to her forced resignation in

 7   October 2017. For example, Mr. Brooks repeatedly referred to “hot women” on campus and

 8   frequently made grunting noises after making those, and other sexually suggestive, comments as

 9   an indication of his sexual desire for such women. This conduct made Ms. Oluvic extremely

10   uncomfortable and communicated to her that Mr. Brooks valued sexual attraction as an important

11   aspect of the workplace environment.

12          20.     Mr. Brooks would routinely make sexist and degrading comments about women in

13   general in front of Ms. Oluvic and others who later complained to Ms. Oluvic and likewise felt

14   offended and intimidated by Mr. Brooks’ conduct.

15          21.     Mr. Brooks would also routinely judge Ms. Oluvic’s performance for reasons

16   wholly unrelated to her actual work by prefacing such comments with “I know you are a woman
17   but . . .” and proceed to explain what she had purportedly done wrong. These comments
18   communicated to Ms. Oluvic, and other female employees, that women were judged by Mr.
19   Brooks under a different standard than men, that Mr. Brooks believed that women (including Ms.
20   Oluvic) were inferior to men, and that Mr. Brooks possessed sexist and misogynistic gender
21   stereotypes that influenced his supervision, treatment and perception of female employees
22   including Ms. Oluvic. Mr. Brooks made no such sexist or demeaning comments towards male

23   staff members or colleagues.

24          22.     Mr. Brooks also routinely made sexist remarks to Ms. Oluvic when criticizing her

25   work performance such as “You didn’t return my emails probably because you are getting your

26   nails done,” or “I couldn’t reach you because you are probably tanning at the Hotel Del,” or “you

27   weren’t available probably because you were getting your hair done.” All of these comments

28   were made for the purpose of demeaning and degrading Ms. Oluvic based upon her gender and
                                                 4
                                                COMPLAINT
Case 3:18-cv-00983-L-KSC Document 1 Filed 05/17/18 PageID.6 Page 6 of 17



 1   this conduct continued throughout her employment at Azusa.

 2          23.    Mr. Brooks also routinely exhibited disgust, disdain, anger and hostility towards

 3   Ms. Oluvic and other females and subjected her to heightened and different performance

 4   standards than male employees, who were generally treated with respect.

 5          24.    On or about November 7, 2016, Plaintiff complained to Defendant’s Human

 6   Resource Department orally and in writing about the harassment and abuse she was receiving

 7   from Mr. Brooks which included the use of highly sexist and misogynistic terms that are

 8   demeaning to Plaintiff and women in general.

 9          25.    Thereafter, Plaintiff also met in person with Defendant’s Human Resource

10   Department to make additional complaints about the unequal treatment and dual standards

11   applicable to women that Mr. Brooks did not apply to men. Plaintiff also identified numerous

12   female colleagues and witnesses to support her claims.

13          26.    On or about March 21, 2017, Defendant’s Human Resource Department issued a

14   finding that Mr. Brooks, in its opinion, had not engaged in any inappropriate behavior but the

15   feedback from Ms. Oluvic and other females “were helpful in understanding Mr. Brooks’ style.”

16   This communicated to Ms. Oluvic and others that using sexist and demeaning language towards
17   women, subjecting them to a different standard than men, and generally using abusive and hostile
18   language and tone towards women was a matter of personal “style” and did not amount to
19   workplace harassment in the eyes of the university. Ms. Oluvic subsequently learned that Human
20   Resources did not interview the witnesses she identified as having highly relevant information to
21   her complaints and that Azusa intended to look the other way and ignore this conduct because of
22   Mr. Brooks’ status as an African-American minority employee and the pressure to retain such

23   employees was extremely high due to intense political pressure from within and without the

24   university.

25          27.    Thereafter, Mr. Brooks retaliated against Ms. Oluvic for making her complaint to

26   Human Resources by increasing his hostility, unfair criticism and demeaning behavior through

27   repeated and ongoing comments and conduct designed to make her work life as miserable as

28   possible.
                                                    5
                                               COMPLAINT
Case 3:18-cv-00983-L-KSC Document 1 Filed 05/17/18 PageID.7 Page 7 of 17



 1          28.     When Mr. Brooks wasn’t making outright sexist and degrading comments about

 2   women in front of Plaintiff and others, he subjected Plaintiff to a different standard than male

 3   employees through highly abusive and profane language in the workplace and relentlessly

 4   criticized her for trivial matters for the purpose of “setting her up to fail” so he could generate

 5   grounds for termination of her employment. For example, Mr. Brooks would subject Ms. Oluvic

 6   to hostile and generally abusive conduct over trivial matters whereas Mr. Brooks treated male

 7   colleagues with general respect and dignity concerning those same issues. In fact, Ms. Oluvic was

 8   advised that other women that worked with Mr. Brooks had also complained to the Human

 9   Resource Department about similar conduct, but nothing was done to protect them either.

10          29.     Mr. Brooks became so upset with Plaintiff that he would call her at home to berate

11   her for trivial or made up matters and would even make fun of, and mock her disability, which

12   was diagnosed by a physician as Adult ADD.

13          30.     Mr. Brooks would also connect his trivial criticisms with her performance reviews

14   so as to intimidate her and threaten her future job security. For example, in meetings with Ms.

15   Oluvic, Mr. Brooks would raise his voice at Ms. Oluvic over trivial matters and then suddenly

16   turn his attention to a male colleague in a cordial and polite manner. If a male employee was
17   talking to Ms. Oluvic during a group meeting, Mr. Brooks would publicly admonish and belittle
18   Ms. Oluvic while exonerating the male employee from any wrongdoing. When Ms. Oluvic called
19   in for meetings (due to her telecommuting status), she would be disconnected from those calls
20   and be blamed by Mr. Brooks for not attending only to learn from others that Mr. Brooks had
21   intentionally hung up on her or clearly pretended to not understand how to work the conference
22   call function. Mr. Brooks would also refuse to tell Ms. Oluvic which work related events he

23   expected her to attend and then criticize her for not attending the events he preferred. Mr. Brooks

24   would then mention these issues as factors for jeopardizing her employment status in upcoming

25   performance reviews.

26          31.     In addition, Mr. Brooks chose to deliver such criticisms in a demeaning and

27   abusive tone in order to harm Ms. Oluvic and force her to quit due to her sex and in retaliation for

28   complaining about his conduct to Human Resources.
                                                 6
                                                COMPLAINT
Case 3:18-cv-00983-L-KSC Document 1 Filed 05/17/18 PageID.8 Page 8 of 17



 1           32.       Mr. Brooks’ pattern of ongoing conduct was so severe and pervasive that Ms.

 2   Oluvic was scared to be alone in the same room as Mr. Brooks and her health began deteriorating

 3   as she suffered from high anxiety, sleeplessness, worry, embarrassment and shame over her

 4   treatment by Mr. Brooks. This conduct continued in this matter through October 2017, when Ms.

 5   Oluvic tendered her resignation by explaining that she simply could not work under the

 6   supervision of Mr. Brooks any longer and was forced to quit.

 7                          EXHAUSTION OF ADMINISTRATIVE REMEDIES

 8           33.       Within 180 days of her constructive discharge, Plaintiff filed a charge of

 9   discrimination with the Equal Employment Opportunity Commission (the “EEOC”) and also with

10   the California Department of Fair Employment of Housing. The EEOC issued a “Notice of Right

11   to Sue” on April 5, 2018, entitling an action to be commenced within ninety (90) days of receipt

12   of that notice.

13           34.       This action has been commenced within ninety (90) days of Ms. Oluvic’s receipt

14   of the “Notice of Right to Sue.”

15                                        FIRST CAUSE OF ACTION

16                      Wrongful Constructive Termination – 42 U.S.C. § 2000e-3(a)(1)

17                                         (Against Defendant Azusa)

18           35.       Plaintiff re-alleges and incorporates by reference the allegations of each of the

19   preceding paragraphs as if fully set forth herein.
20           36.       Plaintiff is an “employee” of Defendant Azusa as that term is defined by 42 U.S.C.

21   section 2000e-(f). At no time did Plaintiff’s job duties include religious instruction or carrying on

22   the religious activities of Azusa.

23           37.       At all relevant times, Azusa has continuously employed at least fifteen (15)

24   employees and has been an “employer” engaged in an industry affecting commerce within the

25   meaning of 42 U.S.C. §§2000e-(b), (g), and (h).

26           38.       42 U.S.C. section 2000e-3(a)(1) makes it an unlawful employment practice for an

27   employer to discriminate against an employee “in terms, conditions, or privileges of

28   employment” on the basis of the employee’s sex or gender.
                                                   7
                                                  COMPLAINT
Case 3:18-cv-00983-L-KSC Document 1 Filed 05/17/18 PageID.9 Page 9 of 17



 1             39.   Mr. Brooks was an authorized employee of Defendant and the direct supervisor of

 2   Plaintiff with immediate authority over Plaintiff able to undertake or recommend tangible

 3   employment decisions affecting Plaintiff and able to direct Plaintiff’s daily work activities.

 4             40.   Defendant Azusa discriminated against Plaintiff on the basis of Plaintiff’s sex in

 5   violation of 42 U.S.C. section 2000e-3(a)(1) through the numerous illegal acts alleged above in

 6   this Complaint including but not limited to unwelcome and unsolicited sexist and demeaning

 7   comments based upon sex and hostile and abusive treatment towards Plaintiff based upon, and

 8   motivated by, sex.

 9             41.   Defendant’s conduct made the working conditions for Plaintiff so intolerable and

10   unbearable that a reasonable employee would feel compelled to resign and, in fact, caused

11   Plaintiff to resign from her employment with Defendant in October 2017.

12             42.   Defendant failed to exercise reasonable care in preventing the harassment and

13   failed to take corrective measures after Plaintiff complained of the harassment. As a proximate

14   result of Azusa’s conduct, Plaintiff has suffered and will continue to suffer damages including but

15   not limited to lost wages (back pay and front pay), lost bonuses and lost benefits. The amount of

16   Plaintiff’s damages will be ascertained at trial.
17             43.   In addition, Plaintiff has suffered and will continue to suffer physical and
18   emotional injuries, including increased blood pressure, nervousness, humiliation, depression,
19   anguish, embarrassment, shock, discomfort, fatigue, sleeplessness and elevated anxiety.
20             44.   In committing the foregoing acts, Defendant has been guilty of malice or reckless
21   indifference towards Plaintiff’s federally protected rights thereby entitling Plaintiff to punitive
22   damages in a sum appropriate to punish and make an example out of Defendant. The acts of

23   malice or reckless indifference were engaged in by officers, directors and/or trustees of Azusa

24   which ratified and authorized the wrongful conduct for which an award of punitive damages is

25   sought.

26             45.   Plaintiff has incurred, and will continue to incur, costs and attorneys’ fees to

27   prosecute this action and requests this Court award recovery of all such current and future

28   reasonable attorneys’ fees and costs incurred in this action according to applicable law.
                                                       8
                                                  COMPLAINT
Case 3:18-cv-00983-L-KSC Document 1 Filed 05/17/18 PageID.10 Page 10 of 17



 1                                    SECOND CAUSE OF ACTION

 2                             Sexual Harassment – 42 U.S.C. § 2000e-2(a)(1)

 3                                       (Against Defendant Azusa)

 4          46.     Plaintiff re-alleges and incorporates by reference the allegations of each of the

 5   preceding paragraphs as if fully set forth herein.

 6          47.     On a consistent basis during Plaintiff’s employment with Azusa, Plaintiff was

 7   subjected to sexual harassment by her supervisor, Everette Brooks.

 8          48.     Plaintiff was obligated to work in an atmosphere that was hostile by virtue of

 9   unsolicited and unwelcome sexual comments, grunting noises, sexual innuendo, and other sex-

10   based conduct including unfair, abusive, hostile and unequal treatment of Plaintiff based upon

11   sex.

12          49.     This sexual harassment was sufficiently severe or pervasive to alter the terms and

13   conditions of employment and create a hostile working environment that was intimidating,

14   insulting and abusive to Plaintiff and other employees.

15          50.     Because of Defendant’s failure to take prompt and remedial action, and its

16   deliberate indifference to sexually hostile conduct, Defendant has intentionally engaged in
17   unlawful employment practices in violation of Title VII.
18          51.     The effect of the conduct complained of herein has been to deprive Plaintiff of
19   equal employment opportunity and has otherwise resulted in tangible adverse employment action
20   and adversely affected her status as an employee because of sex.
21          52.     In addition, Defendant’s conduct made the working conditions for Plaintiff so
22   intolerable and unbearable that a reasonable employee would feel compelled to resign and, in

23   fact, caused Plaintiff to resign from her employment with Defendant in October 2017.

24          53.     Defendant failed to exercise reasonable care in preventing the harassment and

25   failed to take corrective measures after Plaintiff complained of the harassment. As a direct and

26   proximate result of Azusa’s conduct, Plaintiff has suffered and will continue to suffer damages

27   including but not limited to lost wages (back pay and front pay), lost bonuses and lost benefits.

28          54.     Plaintiff has also suffered and will continue to suffer emotional injuries, including
                                                      9
                                                 COMPLAINT
Case 3:18-cv-00983-L-KSC Document 1 Filed 05/17/18 PageID.11 Page 11 of 17



 1   increased anxiety, nervousness, humiliation, depression, anguish, embarrassment, shock,

 2   discomfort, fatigue, sleeplessness and loss of appetite.

 3             55.   In committing the foregoing acts, Defendant has been guilty of malice or reckless

 4   indifference towards Plaintiff’s federally protected rights thereby entitling Plaintiff to punitive

 5   damages in a sum appropriate to punish and make an example out of Defendant. The acts of

 6   malice or reckless indifference were engaged in by officers, directors and/or trustees of Azusa

 7   which ratified and authorized the wrongful conduct for which an award of punitive damages is

 8   sought.

 9             56.   Plaintiff has incurred, and will continue to incur, costs and attorneys’ fees to

10   prosecute this action and requests this Court award recovery of all such current and future

11   reasonable attorneys’ fees and costs incurred in this action according to applicable law

12                                     THIRD CAUSE OF ACTION

13                        Unlawful Sex Discrimination—42 U.S.C. § 2000e-2(a)(1)

14                                       (Against Defendant Azusa)

15             57.   Plaintiff re-alleges and incorporates by reference the allegations of each of the

16   preceding paragraphs as if fully set forth herein.

17             58.   42 U.S.C. section 2000e-3(a)(1) makes it an unlawful employment practice for an

18   employer to discriminate against an employee “in terms, conditions, or privileges of

19   employment” on the basis of the employee’s sex or gender.
20             59.   Defendant Azusa discriminated against Plaintiff on the basis of Plaintiff’s sex in

21   violation of 42 U.S.C. section 2000e-3(a)(1) through the numerous illegal acts alleged above in

22   this Complaint including but not limited to unwelcome and unsolicited sexist and demeaning

23   comments based upon sex and hostile and abusive treatment towards Plaintiff based upon, and

24   motivated by, sex.

25             60.   Defendant’s conduct resulted in tangible employment action against Plaintiff and

26   ultimately made the working conditions for Plaintiff so intolerable and unbearable that a

27   reasonable employee would feel compelled to resign and, in fact, caused Plaintiff to resign from

28   her employment with Defendant in October 2017.
                                                 10
                                                 COMPLAINT
Case 3:18-cv-00983-L-KSC Document 1 Filed 05/17/18 PageID.12 Page 12 of 17



 1             61.   As a proximate result of Azusa’s conduct, Plaintiff has suffered and will continue

 2   to suffer damages including but not limited to lost wages (back pay and front pay), lost bonuses

 3   and lost benefits. The amount of Plaintiff’s damages will be ascertained at trial.

 4             62.   In addition, Plaintiff has suffered and will continue to suffer physical and

 5   emotional injuries, including increased blood pressure, nervousness, humiliation, depression,

 6   anguish, embarrassment, shock, discomfort, fatigue, sleeplessness and elevated anxiety.

 7             63.   In committing the foregoing acts, Defendant has been guilty of malice or reckless

 8   indifference towards Plaintiff’s federally protected rights thereby entitling Plaintiff to punitive

 9   damages in a sum appropriate to punish and make an example out of Defendant. The acts of

10   malice or reckless indifference were engaged in by officers, directors and/or trustees of Azusa

11   which ratified and authorized the wrongful conduct for which an award of punitive damages is

12   sought.

13             64.   Plaintiff has incurred, and will continue to incur, costs and attorneys’ fees to

14   prosecute this action and requests this Court award recovery of all such current and future

15   reasonable attorneys’ fees and costs incurred in this action according to applicable law.

16                                    FOURTH CAUSE OF ACTION
17                                   Retaliation – 42 U.S.C. 2000e-3(a)

18                                       (Against Defendant Azusa)

19             65.   Plaintiff re-alleges and incorporates by reference the allegations of each of the
20   preceding paragraphs as if fully set forth herein.

21             66.   42 U.S.C. section 2000e-3(a) makes it an unlawful practice for an employer to

22   discriminate against an employee because she has opposed any unlawful employment practice

23   under Title VII.

24             67.   As alleged above, Plaintiff, and other female colleagues, complained directly to

25   Azusa’s human resource department about the illegal conduct of her supervisor, Mr. Brooks. Not

26   only did Azusa fail to properly or completely investigate Plaintiff’s complaints, but those

27   complaints were ignored and then Mr. Brooks commenced a pattern and practice of retaliating

28   against Plaintiff for initiating, and participating in, a complaint about his sexual harassment and
                                                        11
                                                 COMPLAINT
Case 3:18-cv-00983-L-KSC Document 1 Filed 05/17/18 PageID.13 Page 13 of 17



 1   discriminatory conduct towards her and other women.

 2             68.   Plaintiff’s complaints were made to persons with authority over Plaintiff and who

 3   had the authority to investigate, discover, and correct the violation and/or non-compliance. Said

 4   activities would result in violation of Federal statutes and Azusa’s formal policies prohibiting

 5   such conduct.

 6             69.   By the aforesaid acts and omissions of Defendant, Plaintiff has been directly and

 7   legally caused to suffer actual damages including, but not limited to, her constructive discharge,

 8   loss of earnings, damages, costs of suit and other loss in an amount not presently ascertained but

 9   to be proven at trial.

10             70.   In addition, Plaintiff has suffered and will continue to suffer physical and

11   emotional injuries, including increased blood pressure, nervousness, humiliation, depression,

12   anguish, embarrassment, shock, discomfort, fatigue, sleeplessness and elevated anxiety.

13             71.   In committing the foregoing acts, Defendant has been guilty of malice or reckless

14   indifference towards Plaintiff’s federally protected rights thereby entitling Plaintiff to punitive

15   damages in a sum appropriate to punish and make an example out of Defendant. The acts of

16   malice or reckless indifference were engaged in by officers, directors and/or trustees of Azusa
17   which ratified and authorized the wrongful conduct for which an award of punitive damages is
18   sought.
19             72.   Plaintiff has incurred, and will continue to incur, costs and attorneys’ fees to
20   prosecute this action and requests this Court award recovery of all such current and future
21   reasonable attorneys’ fees and costs incurred in this action according to applicable law.
22                                     FIFTH CAUSE OF ACTION

23                              Retaliation – California Labor Code § 1102.5

24                                       (Against Defendant Azusa)

25             73.   Plaintiff re-alleges and incorporates by reference the allegations of each of the

26   preceding paragraphs as if fully set forth herein.

27             74.   California Labor Code section 1102.5, subdivision (b), makes it unlawful for “an

28   employer, or any person acting on behalf of the employer” to retaliate against an employee for
                                                   12
                                                 COMPLAINT
Case 3:18-cv-00983-L-KSC Document 1 Filed 05/17/18 PageID.14 Page 14 of 17



 1   disclosing information of noncompliance with a local, state or federal rule or regulation.

 2             75.      As alleged above, and in violation of California Labor Code section 1102.5,

 3   Defendant retaliated against Plaintiff for complaining about activities that she had reasonable

 4   cause to believe constituted a violation of California state laws, rules and regulations such as

 5   California Government Code Section 12940, et. seq., and 42 U.S.C. section 2000e-2(a)(1).

 6             76.      Plaintiff’s complaints were made to persons with authority over Plaintiff and who

 7   had the authority to investigate, discover, and correct the violation and/or non-compliance. Said

 8   activities would result in violation of the California statutes and Azusa’s formal policies alleged

 9   herein.

10             77.      By the aforesaid acts and omissions of Defendant, and each of them, Plaintiff has

11   been directly and legally caused to suffer actual damages including, but not limited to, loss of

12   earnings, damages, costs of suit and other loss in an amount not presently ascertained but to be

13   proven at trial.

14             78.      In addition, Plaintiff has suffered and will continue to suffer physical and

15   emotional injuries, including increased blood pressure, nervousness, humiliation, depression,

16   anguish, embarrassment, shock, discomfort, fatigue, sleeplessness and elevated anxiety.
17             79.      In committing the foregoing acts, Defendant has been guilty of oppression, fraud,
18   and/or malice under California Civil Code section 3294 in conscious disregard of Plaintiff’s rights
19   thereby entitling Plaintiff to punitive damages in a sum appropriate to punish and make an
20   example out of Defendant. The acts of oppression, fraud, and/or malice were engaged in by
21   officers, directors and/or trustees of Azusa which ratified and authorized the wrongful conduct for
22   which an award of punitive damages is sought.

23             80.      The foregoing acts and omissions of Defendant justify the imposition of any and

24   all civil penalties pursuant to Section 1102.5(f) of the California Labor Code along with

25   attorneys’ fees and costs of suit as provided in Section 1021.5 of the California Code of Civil

26   Procedure.

27   ///

28   ///
                                                       13
                                                   COMPLAINT
Case 3:18-cv-00983-L-KSC Document 1 Filed 05/17/18 PageID.15 Page 15 of 17



 1                                     SIXTH CAUSE OF ACTION

 2                    Wrongful Constructive Termination in Violation of Public Policy

 3                                       (Against Defendant Azusa)

 4           81.     Plaintiff re-alleges and incorporates by reference the allegations of each of the

 5   preceding paragraphs as if fully set forth herein.

 6           82.     At all times during her employment with Azusa, Plaintiff performed her duties

 7   with the utmost diligence and competence.

 8           83.     As alleged above, Defendant’s conduct as alleged herein was motivated by

 9   Plaintiff’s sex and complaints to Azusa of illegal and unlawful discriminatory conduct. The

10   reasons offered by Defendant for refusing to protect Plaintiff from Mr. Brooks’ conduct were, and

11   are, pretextual in nature and Defendant intentionally engaged in the foregoing acts in an attempt

12   to force Plaintiff to resign.

13           84.     As alleged herein, Defendant discriminated against Plaintiff in the terms and

14   conditions of employment in violation of important and well established public policies, as set

15   forth in Article I, Section 8 of the California Constitution, California Government Code section

16   12940, et seq., and 42 U.S.C. section 1981, which mandate that employees be free from unlawful
17   discrimination, retaliation and other adverse employment actions based upon race, gender and
18   color (among others).
19           85.     Defendant’s conduct made the working conditions for Plaintiff so intolerable and
20   unbearable that a reasonable employee would feel compelled to resign and, in fact, caused
21   Plaintiff to resign from her employment with Defendant in October 2017.
22           86.     As a proximate result of the conduct of Azusa, Plaintiff has suffered and will

23   continue to suffer special damages in the form of lost wages, future lost earnings, lost bonuses,

24   lost benefits, out of pocket expenses and other pecuniary loss according to proof at trial.

25           87.     In addition, Plaintiff has suffered and will continue to suffer physical and

26   emotional injuries, including increased blood pressure, nervousness, humiliation, depression,

27   anguish, embarrassment, shock, discomfort, fatigue, sleeplessness and elevated anxiety.

28           88.     In committing the foregoing acts, Defendant has been guilty of oppression, fraud,
                                                    14
                                                 COMPLAINT
Case 3:18-cv-00983-L-KSC Document 1 Filed 05/17/18 PageID.16 Page 16 of 17



 1   and/or malice under California Civil Code section 3294 in conscious disregard of Plaintiff’s rights

 2   thereby entitling Plaintiff to punitive damages in a sum appropriate to punish and make an

 3   example out of Defendant. The acts of oppression, fraud, and/or malice were engaged in by

 4   officers, directors and/or trustees of Azusa which ratified and authorized the wrongful conduct for

 5   which an award of punitive damages is sought.

 6          WHEREFORE, PLAINTIFF PRAYS FOR THE FOLLOWING RELIEF:

 7          1. For general damages, including front pay and back pay, according to proof on each

 8              cause of action for which damages are available in an amount to be proven at trial;

 9          2. For special damages, according to proof on each cause of action for which such

10              damages are available in an amount to be proven at trial;

11          3. For compensatory damages, including emotional distress damages, according to proof

12              on each cause of action for which such damages are available, in an amount to be

13              proven at trial;

14          4. For punitive damages according to proof on each cause of action for which such

15              damages are available;

16          5. For declaratory and injunctive relief as appropriate;
17          6. For prejudgment interest and post-judgment interest according to law;
18          7. For reasonable attorneys’ fees incurred in this action according to law;
19          8. For costs of suit incurred in this action according to law;
20   ///
21   ///
22   ///

23   ///

24   ///

25   ///

26   ///

27   ///

28   ///
                                                     15
                                                COMPLAINT
Case 3:18-cv-00983-L-KSC Document 1 Filed 05/17/18 PageID.17 Page 17 of 17



 1         9. For such other and further relief as the Court deems proper and just.

 2

 3   DATED: May 17, 2018.                               CHACKEL LAW, PC
 4
                                                        By: /s/ Geoffrey C. Chackel, Esq.
 5                                                         GEOFFREY C. CHACKEL, ESQ.
                                                           Attorney for Plaintiff
 6

 7
     DEMAND FOR JURY TRIAL
 8
           Plaintiff demands a trial by jury as to all issues so triable.
 9

10   DATED: May 17, 2018                                CHACKEL LAW, PC
11
                                                        By: /s/ Geoffrey C. Chackel, Esq.
12                                                         GEOFFREY C. CHACKEL, ESQ.
                                                           Attorney for Plaintiff
13

14

15

16
17

18

19
20

21

22

23

24

25

26

27

28
                                                      16
                                                 COMPLAINT
